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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

                                                                  CIVIL ACTION NO. 17-6197
ADRIAN CALISTE AND BRIAN GISCLAIR,
INDIVIDUALLY AND ON BEHALF OF ALL                                 (CLASS ACTION)
OTHERS SIMILARLY SITUATED
                                                                  JUDGE FALLON
v.
                                                                  MAGISTRATE NORTH
HARRY E. CANTRELL, MAGISTRATE JUDGE
OF ORLEANS PARISH CRIMINAL DISTRICT
COURT


 DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE A
   REPLY MEMORANDUM, OR IN THE ALTERNATIVE, MOTION TO STRIKE
 DISCUSSION AND SUBMISSION OF NEW EXHIBITS, OR IN THE ALTERNATIVE,
 EX PARTE MOTION FOR LEAVE TO FILE SUR-REPLY TO PLAINTIFFS’ REPLY
  MEMORANDUM IN SUPPORT OF THIER RENEWED MOTION FOR RULE TO
    SHOW CAUSE WHY DEFENDANT CANTRELL SHOULD NOT BE HELD IN
                            CONTEMPT

       NOW INTO COURT, through undersigned counsel, comes defendant, Magistrate Judge

Harry E. Cantrell, who, opposes Plaintiffs’ Motion for Leave to File a Reply Memorandum in

Support of their Renewed Motion for Rule to Show Cause Why Defendant Cantrell Should Not

be Held in Contempt, or in the alternative, moves to strike the discussion and submission of new

exhibits in Plaintiffs’ Reply Memorandum, or in the alternative, requests leave to file a sur-reply

to address new evidence and arguments submitted by Plaintiffs’ for first time in their reply.

       At 6:31 p.m. on July 22, 2020, the day of submission, Plaintiffs filed a Motion for Leave

to File a Reply and attached as an exhibit their proposed Reply Memorandum. R. Doc. 200. At the

same time, they sought to leave to exceed the page limit so that they could introduce and discuss

eleven new exhibits that were not attached to or discussed in either their original memorandum or



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in Defendant’s reply memorandum. Plaintiffs should not be given leave to file their reply

memorandum because it grossly exceeds the scope and purpose of reply memoranda. “[I]t is

improper for the movant to sandbag and raise wholly new issues in a reply memorandum. The

scope of the reply should be limited to addressing the arguments raised by the memorandum in

opposition.” Weems v. Hodnett, 2011 U.S. Dist. LEXIS 75172, at *2-3 (W.D. La. July 13, 2011).

       Plaintiffs had ample time and access to audio of Judge Cantrell’s hearings to support their

never-ending attempts to convince this Court to hold Judge Cantrell in contempt, and there is no

excuse for their eleventh-hour attempt to introduce new evidence and make new arguments to

which Judge Cantrell cannot respond. In fact, the Fifth Circuit has found that, “[a]rguments raised

for the first time in a reply brief are generally waived.” Jones v. Cain, 600 F.3d 527, 541 (5th Cir.

2010); see also Elwakin v. Target Media Partners Operating Co. LLC, 901 F. Supp. 2d 730, 745

(E.D. La. 2012) (“Courts in the Fifth Circuit have found that a court need not consider new

arguments raised for the first time in a summary judgment reply brief.”) As such, this Court

should deny Plaintiffs’ request for leave to file their reply memorandum, or in the alternative,

strike the new exhibits attached to Plaintiffs’ reply memorandum as well their arguments and

reference to the new exhibits therein.

       Judge Cantrell has agreed to Plaintiffs’ requests to both extend the time for filing their

renewed motion for contempt as well as an additional request to extend the submission date. See

R. Doc. 180 and Doc.197. Judge Cantrell is now entitled to have a hearing and/or have this court

rule on Plaintiffs’ motion without engaging in never-ending briefing on the matter to correct

Plaintiffs’ ongoing post-facto misrepresentations of the hearings held in his court. In Elwakin, the

court found “that timing and litigation posture, as well as surrounding circumstances, favor[ed]

striking the new evidence [in a reply memo]” when the litigant submitted their reply one day after

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the submission date, the opposing party filed a motion to strike, and there was no excuse for the

new arguments and evidence being raised for the first time in a reply memo. Elwakin, 901 F.

Supp. 2d at 746. Similarly, after receiving several extensions to both file and brief their renewed

motion for contempt, Plaintiffs submit new evidence and arguments in a reply memo less than six

hours before the case is set for submission, Judge Cantrell is seeking to strike such evidence and

arguments, and there is no excuse for Plaintiffs’ introduction of new evidence and arguments in a

reply memo when they had both access to the evidence they seek to introduce and ample time to

make these new arguments at the time they originally filed their motion.

       In the alternative, to the extent this Court allows Plaintiffs to file their reply brief and

include the new arguments and new evidence therein, Judge Cantrell requests that this Court re-

set the submission date and grant him leave to file a sur-reply. Elwakin, 901 F. Supp. 2d at 745-46

(noting that “a court may consider new evidence introduced in a reply brief if the non-movant is

given an adequate opportunity to respond,” but deciding to strike new evidence submitted in a

litigant’s reply memorandum.”)

       In conclusion, Defendant Judge Cantrell respectfully requests that this Honorable Court to

Deny Plaintiffs’ Motion for Leave to File a Reply Memorandum in Support of their Renewed

Motion for Rule to Show Cause Why Defendant Cantrell Should Not be Held in Contempt, or in

the alternative, strike the discussion and submission of new exhibits in Plaintiffs’ Reply

Memorandum, or in the alternative, grant leave for Judge Cantrell to file a sur-reply to address

new evidence and arguments submitted by Plaintiffs’ for first time in their reply.

                                                     Respectfully submitted,

                                                     /s/ Mindy Nunez Duffourc
                                                     Burglass and Tankersley, LLC
                                                     Dennis J. Phayer (#10408)

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                                                     Cantrell


                               CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of July, 2020, a copy of the foregoing pleading has

been forwarded to all counsel of record via CM/ECF filing through the United States District

Court system, email and/or United States Mail.

                                           /s/ Mindy Nunez Duffourc
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